This is the second appeal of this case to this Court. The opinion in the former appeal is reported at 133 Tex. 96,125 S.W.2d 1034. In the former appeal we remanded this cause to the Court of Civil Appeals to pass on the assignments of the appellant raising the issue of the insufficiency of the evidence to support the findings of the jury on certain issues fully set out in our original opinion. After the judgment of this Court became final the record was returned to the Court of Civil Appeals, and that court, after considering the assignments raising the question of insufficiency above indicated, overruled the same. 129 S.W.2d 1206. We have no jurisdiction to disturb such ruling. It is therefore ordered that this application be "DISMISSED W. O. J."
Opinion delivered October 4, 1939.